Case 2:04-cr-20462-SH|\/| Document 53 Filed 06/23/05 Page 1 of 2 Page|D 85

 

FH_EL~) d`r. f\
IN THE UNITED STATES DISTRICT - vi ,,C.
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUN 2 .
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UNITED sTATES oF AMERICA, OF TN, )st,$}=»§§
Plaintifi`,
v. CASE No.:2;04-cr-20462
MARTIN RHEA,
Defendaot.

 

ORDER ON DEFENDANT’S MOTION TO TRANSFER

 

Before the court is the Defendant’s unopposed motion to transfer the case of USA v.
Irvin, et al.,Cause No.: 2:04-cr-20462 to the cause pending before Judge Samuel Mays, Cause
No. 2:04-cr-20408. For good cause shown, the motion is granted

lt is so oRDERED, this _& day of 1 , 2005.

t 9 m“O.QQ»

UD E JON PH[PPS MCCALLA
UNI ED STATES DISTRICT IUDGE

 

 

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Honorable J on McCalla
US DISTRICT COURT

